Case 19-04350-RLM-13            Doc 81 Filed 03/07/23 EOD 03/07/23 16:41:04                       Pg 1 of 1
                              SO ORDERED: March 7, 2023.




                              ______________________________
                              Robyn L. Moberly
                              United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

IN RE:                                             )
Jason Ray Giselbach                                )         CASE NO. 19-04350-RLM-13
                                                   )
(DEBTOR LAST FOUR SSN: 1805)                       )
                                                   )
                         DEBTOR(S).                )

                                 ORDER DIRECTED TO EMPLOYER TO
                                 REMIT UNDER WAGE ASSIGNMENT

        The Debtor, filing a plan pursuant to Chapter 13 of the Bankruptcy Code, and which plan

provides the Debtor’s employer, make certain deductions from the earnings of the Debtor, that said

deductions be paid to the Trustee, and the Court being duly advised in the premises now finds that in

order to facilitate Debtor's plan, the Employer should be ordered and directed to hold funds from the

Debtor's wages and remit them to the Trustee.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by this Court that

TALENT AUTO BODY LLC, Attn: Payroll Dept., 7690 E. 236th Street, Cicero, IN 46034-9806

be and hereby is directed to deduct from the wages of JASON RAY GISELBACH beginning upon

receipt of this notice and to continue thereafter until further order of this Court, the sum of

SEVENTY DOLLARS and 00/Cents ($70.00) each pay period (WEEKLY) and remit the same to Ann

DeLaney, Chapter 13 Trustee, PO Box 250, Memphis, TN 38101-0250.


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